Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 1 of 15 Page ID #:387



   1    LAW FIRM OF JONAS & DRISCOLL, LLP
        1108 SARTORI AVENUE
   2    SUITE #320
        TORRANCE, CA 90501
   3    TEL:       (213) 683-2033
        FAX:       (310) 218-4980
   4    EMAIL: cdrisk@aol.com
        Christopher L. Driscoll, State Bar #167001
   5
        Attorney for Plaintiff HARSHOD MEHTA AND KAUSHIKA MEHTA
   6
   7
   8
                          UNITED STATES DISTRICT COURT
   9
                         CENTRAL DISTRICT OF CALIFORNIA
  10
  11    HARSHOD MEHTA, an individual, )           Case# EDCV 15-01164 VAP(DTBx)
        and KAUSHIKA MEHTA, an          )
  12    individual;                     )
                                        )         OPPOSITION TO MOTION FOR
  13          plaintiff,                )         SUMMARY JUDGMENT/
                                        )         PARTIAL SUMMARY
  14                                    )         ADJUDICATION
        vs.                             )
  15                                    )         [Filed concurrently with
        ERIC WIDEN, an individual;      )         Evidence Submitted in Support
  16    LAVELL BROWN, an individual;    )         of Opposition to Motion for
        JAMES HAROLD BELL, III,         )         Summary Judgment/Partial
  17    an individual; a CITY           )         Summary Adjudication;
        OF UPLAND, a public entity, and )         Statement of Controverted/
  18    DOES 1 through 10, inclusive.   )         Uncontroverted Facts;
                                        )         Conclusions of Law]
  19                                    )
              defendants.               )         Date:      August 22, 2016
  20    ______________________________ )          Time:      2:00 p.m.
                                                  Place:     Courtroom 780
  21
  22
  23
  24
  25
  26
        _________________________________________________________
  27
  28                                        -i-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 2 of 15 Page ID #:388



   1
                                                  TABLE OF CONTENTS
   2
   3    I.      INTRODUCTION/SUMMARY. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
   4    II.    ARGUMENT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
   5           A.        RELEVANT FACTS/BACKGROUND. . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
   6           B.        LEGAL PRINCIPLES.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
   7                     1.        GENERAL LAW RE: SUMMARY JUDGMENT. . . . . . . . . . . . 4
   8                     2.        EXCESSIVE FORCE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
   9                               (A)        Graham v. Connor.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
  10                               (B)        Because Cases of Excessive Force by their Nature
                                              Involve Disputed Facts, Summary Judgment is
  11                                          “Sparingly” Granted on the issue. . . . . . . . . . . . . . . . . . . . . . 6
  12                               (C)        The Intent of the Officer whether “Evil” or well
                                              intentioned is irrelevant.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  13
                                   (D)        Qualified Immunity: Well Intentioned but Unreasonable
  14                                          Mistakes Are a Basis for Liability. . . . . . . . . . . . . . . . . . . . . 8
  15                               (E)        Defendant’s Argument that there is no “Seizure” are
                                              Plainly Untrue. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  16
                                   (F)        Cal Health & Safety Code Section 1799.107. . . . . . . . . . 10
  17
                                   (G)        State Claims. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
  18
                                   (H)        Loss of Consortium. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
  19
  20
        III.    CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
  21
  22
  23
  24
  25
  26
  27
  28                                                                -ii-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 3 of 15 Page ID #:389



   1
                                             TABLE OF AUTHORITIES
   2
        CASES
   3
        Adams v. Speers
   4        473 F.3d 989, 994 (9th Cir. 2007). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
   5    Anderson v. Creighton
             483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed. 2d 523 (1987). . . . . . . . . . . . . . . 5
   6
        Anderson v. Liberty Lobby, Inc.
   7         477 U.S. 242, 249-255, 106 S.Ct. 2505, 2511-2513 (1986). . . . . . . . . . . . . . . . 7
   8    Baldwin v. Placer County th
             418 F.3d 966 970 (9 Cir. 2005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
   9
        Blueofred v. Prunty
  10         108 F.3d 251, 254 (9th Cir. 1997). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  11    Brower v. County of Inyou
             489 U.S. 593, 596-597, 109 S.Ct. 1378, 103 L.Ed 2d 628 (1989).. . . . . . . . . . 8
  12
        Bryan v. MacPherson
  13          630 F.3d 805, 831 (9th Cir. 2010). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
  14    Clash v. Beatty
              77 F.3d 1045, 1048 (7th Cir. 1996) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
  15
        Cornwell v. Electra Central Credit Union
  16         439 F.3d 1018, 1029-1030 (9th Cir. 2006)... . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
  17    Deorle v. Rutherford
              272 F.3d 1272, 1286(9th Cir. 2001). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  18
        Forrett v. Richardson
  19          112 F.3d 416 420 (9th Cir 1997). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
  20    Graham v. Connor
             490 U.S. 386, 388, 109 S. Ct. 1865, 104 L.Ed.2d 443 (1989). . . . . . . . . . . . . . 7
  21
        Hill v. California
  22           401 U.S. 797, 803-804, 91 S.Ct. 1106, 28 L.Ed.2d 484 (1971). . . . . . . . . . . . . 8
  23    Hopkins v. Andaya
             958 F.2d 881, 888 (9th Cir. 1992). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
  24
        Hope v. Pelzer
  25         536 U.S. 730, 741, 122 S.Ct. 2508, 153 L.Ed. 2d 666 (2000). . . . . . . . . . . . . . 8
  26    Jackson v. Hoylman
              933 F.2d 401, 403 (6th Cir 1991).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  27
  28                                                           -iii-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 4 of 15 Page ID #:390



   1    Jensen v. City of Oxnard
              145 F.3d 1078, 1086 (9th Cir. 1998)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
   2
        LaLonde v. County of Riverside
   3         204 F.3d 947 (960(9th Cir. 2000) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
   4    Liston v. County of Riverside th
              120 F.3d 965, 976 n.10 (9 cir. 1997). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
   5
        Mendoza v. Block
   6        27 F.3d 1357, 1362 (9th Cir. 1994). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
   7             Nationwide Life Ins. Co. V. Bankers Leasing Ass’n, Inc.
                 182 F.3d 157, 160 (2d Cir. 1999). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
   8
        Oliver v. Fiorino
   9          586 F.3d 898; 907-8, (11th Cir. 2009). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  10    Robinson v. Solano County
             278 F.3d 1007, 1013-15 (9th Cir 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  11
        Santos v. Gates
  12          287 F.3d 846, 853 (9th Cir. 2002). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
  13    Scott v. United Sates
              436 U.S. 128, 138, 98 S.Ct. 1717, 56 L.Ed2d 168 (1978). . . . . . . . . . . . . . . . . . 7
  14
        Tennesee v. Garner
  15         105 S.Ct. 1694, 471 U.S. 1, 11-12 (1985). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
  16    Willings v. City of Oakland
              350 F.3d 949 (9th Cir. 2003).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  17
  18
        OTHER:
  19
  20    Cal. Health & Safety Code 1799.107. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
  21    Rutter, Federal Civil Procedure Before Trial 14:123... . . . . . . . . . . . . . . . . . . . . . . . . . . 4
  22    Rutter, Federal Civil Procedure Before Trial 14:224... . . . . . . . . . . . . . . . . . . . . . . . . . . 4
  23    Rutter, Federal Civil Procedure Before Trial 14:251.5.. . . . . . . . . . . . . . . . . . . . . . . . . . 5
  24
  25
  26
  27
  28                                                              -iv-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 5 of 15 Page ID #:391



   1
                                                  I.
   2
                                  INTRODUCTION/SUMMARY
   3
             On February 18, 2014, the Upland Police Department conducted a high speed
   4
        chase the resulted in a crash. In the aftermath of that crash Defendant Brown of
   5
        the Upland Police Department was confused as to who the suspect was, and based
   6
        upon the unreasonable mistake, pointed a gun at plaintiff Harshad Mehta, and
   7
        violently threw Harshad Mehta to the ground causing significant injury. Brown,
   8
        later realized his mistake and dragged Harshad Mehta from the scene.
   9
                Defendants motion is based entirely on the false premise that Brown only
  10
        took actions to protect Mehta and remove him from the scene.
  11
                When the disputed facts are taken into consideration, Defendants motion
  12
        fails. It is well established that a plaintiff can sue under 42 U.S.C.1983 for a
  13
        Fourth Amendment Excessive Force violation based upon an officers mistaken
  14
        understanding of the facts.
  15
                                                  II.
  16
                                           ARGUMENT
  17
  18
        A.      RELEVANT FACTS/BACKGROUND
  19
  20
                Crime, Pursuit and a Crash
  21
                On February 18, 2014, a car jacking occurred in the city of Upland.
  22
        [DSS#20, 21, 22.] Officer Widen of the Upland police Department initiated a high
  23
        speed pursuit. [DSS#23].
  24
                On the night of the accident February 18, 2015, Mr. Mehta was traveling
  25
        home from his business a liquor store. [PSS#60] Mehta was stopped at Euclid and
  26
        Foothill waiting at a red light just prior to the accident. [PSS#61].
  27
  28                                             -1-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 6 of 15 Page ID #:392



   1          The chase ended at the intersection of Foothill and Euclid in the City of
   2    Upland with a crash involving multiple vehicles including Mehta’s Black BMW.
   3    [DSS 30-32].
   4          In spite of being struck, the airbags in Mehta’s vehicle did not deploy.
   5    [PSS#62].
   6          Bell never had a weapon and it was never reported in any way that Bell had
   7    a Weapon. [PSS#63].
   8          Extrication
   9          After the accident Mehta was sitting in his vehicle. Officer Brown knocked
  10    on the window of plaintiff’s driver side door. The officer pointed his gun directly
  11    at Mehta and motioned with his other hand for Mehta to unlock his door. Mehta
  12    unlocked the door, and Brown opened the door right away. Mehta asked “what
  13    was going on?” [PSS#64].
  14          Once the Door was opened Brown shouted to Mehta to take off his seat belt.
  15    Brown was pointing his gun directly at Mehta. Mehta released his seatbelt.
  16    Brown then forcefully threw Mehta to the ground, and held a gun directly to
  17    Mehta’s head. [PSS#65].
  18          Mehta felt his thumb break on impact with the ground and also felt pain and
  19    a click in his back from being violently thrown to the ground. [PSS#66] The throw
  20    was strong enough that Mehta required thumb surgery to repair the injury in April
  21    of 2014. [PSS#67]. Based upon how hard he was thrown to the ground and the
  22    Gun being pointed at him Mehta believed that Brown thought he was a criminal
  23    and may shoot Mehta. [PSS#68] .
  24          Mehta cried out asking why the officer was hurting him and explained that
  25    he was not the criminal. [PSS#69].
  26          Brown, realized his mistake, and then dragged Mehta to the rear tire of
  27
  28                                            -2-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 7 of 15 Page ID #:393



   1    Mehta’s vehicle, followed by Brown pointing his gun in the direction of the Bell’s
   2    SUV. [PSS#70]
   3          Mehta was later taken across the street by Brown. [PSS#71].
   4          It should be noted that Brown claims that he merely pulled Mehta from the
   5    vehicle before Mehta was pulled across the street. Brown denies that Mehta Struck
   6    the ground or was positioned on the ground. [PSS#72].
   7          Brown’ s Confusion
   8          As is clear by the prior described actions – (1) pointing a gun directly at
   9    Mehta and (2) violently throwing Mehta to the ground so as to cause injury --,
  10    Brown was confused as to which car the perpetrator of the crime was.
  11          Brown has a belt Recorder at the time of the incident. It was protocol for the
  12    belt recorder to be activated at the time of the incident. Not shockingly, the belt
  13    recording of the interaction between Mehta and Brown does not currently exist.
  14    One can presume the recording was destroyed or “lost.” [PSS#73].
  15          As written in his Report and read chronologically, Brown arrives AFTER
  16    the accident. [PSS#74].
  17          Although Brown provides an excuse, Brown confirmed that dispatch
  18    records show that Brown did not arrive at the scene of the accident until two
  19    minutes after it occurred. [PSS#75].
  20          Interestingly in Widen’s Report for the description of the incident, it
  21    appears as though some information regarding Mehta was removed from the
  22    report. [PSS#76]
  23          Further, Widen cannot verify Brown’s story as Officer Widen did not view
  24    Mr. Mehta being extricated from the vehicle. [PSS#77]
  25          Brown claimed that he wanted to make sure that the man in the BMW was
  26    ok. [Brown Depo., 38:2-39:16.] However, this makes no sense Brown admits that
  27
  28                                             -3-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 8 of 15 Page ID #:394



   1    he had not one word with Mehta to assess Mehta’s injuries, or determine if he had
   2    a spinal injury before pulling him from the vehicle. [Brown Depo. 100:13-102:6;
   3    52:20-54:5].
   4          Aftermath
   5          In spite of the surgery, the injury to Mehta’s hand was so severe that Mehta
   6    still has pain and cannot even clench his fist. [Mehta Depo., 137:6-141:23; 141:9-
   7    144:23.]
   8          As a result of his injuries and his inability to work steadily and his mental
   9    state, Mehta lost his livelihood, a liquor store located in Upland. [Mehta Depo.,
  10    39:9-43:21.]
  11
  12    B.    LEGAL PRINCIPLES
  13
  14          1.       GENERAL LAW RE: SUMMARY JUDGMENT
  15          “Circumstantial evidence alone may create a genuine issue of material fact,
  16    sufficient to defeat a motion for summary judgment. Cornwell v. Electra Central
  17    Credit Union, 439 F.3d 1018, 1029-1030 (9th Cir. 2006).
  18          Because summary judgment is a “drastic device,” cutting off a party’s right
  19    to present its case to a jury, the moving party bears a “heavy burden” of
  20    demonstrating the absence of any triable issue of material fact. Nationwide Life
  21    Ins. Co. V. Bankers Leasing Ass’n, Inc., 182 F.3d 157, 160 (2d Cir. 1999). Rutter,
  22    Federal Civil Procedure Before Trial 14:123. “Ultimate facts are conclusions or
  23    characterizations based on historical facts . . . If there is any dispute as to the
  24    underlying historical facts, summary judgment of course cannot be granted.”
  25    Rutter, Federal Civil Procedure Before Trial 14:224.
  26          “The judge’s function is not himself to weigh the evidence and determine
  27
  28                                              -4-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 9 of 15 Page ID #:395



   1    the truth of the matter but to determine whether there is a genuine issue for trial
   2    Credibility determinations, the weighing of the evidence and the drawing of
   3    legitimate inferences from the facts are jury functions.” Anderson v. Liberty
   4    Lobby, Inc. 477 U.S. 242, 249-255, 106 S.Ct. 2505, 2511-2513 (1986).
   5          “The evidence of the non-movant is to be believed, and all justifiable
   6    inferences are to be drawn in his favor.” Anderson v. Liberty Lobby, Inc. 477 U.S.
   7    242, 249-255, 106 S.Ct. 2505, 2513 (1986).
   8          In Hopkins v. Andaya 958 F.2d 881, 888 (9th Cir. 1992) a police officer
   9    moved for summary judgment in a suit for wrongful death of an arrestee. He
  10    testified that he was bludgeoned by the arrestee and killed in self-defense. The
  11    only opposing evidence was a medical report (1) showing the Officer’s injuries
  12    were superficial; and (2) containing inconsistent statements by the Officer.
  13    Despite his first hand testimony to the contrary, this entirely circumstantial
  14    evidence was sufficient to create a triable issue of fact. Rutter, Federal Civil
  15    Procedure Before Trial 14:251.5.
  16
  17          2.     GENERAL LAW RE: EXCESSIVE FORCE
  18          (A)    Graham v. Connor
  19          General: Claims of excessive force by law enforcement officials are
  20    analyzed under the Fourth Amendments’s “objective reasonableness” standard.
  21    Graham v. Connor, 490 U.S. 386, 388, 109 S. Ct. 1865, 104 L.Ed.2d 443 (1989)
  22    The reasonableness of a seizure is judged from the perspective of the officer on the
  23    scene, rather than with hindsight. Id. At 396, 109 S.Ct. 1865 Id. In evaluating a
  24    claim of excessive force, a court must determine reasonless by considering the
  25    severity of the crime involved, the threat to the safety of the offer posed by the
  26    suspect, and any resistance to arrest. Id.
  27
  28                                             -5-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 10 of 15 Page ID #:396



    1          If it is feasible to do so, Police officers are to give a warning before using
    2   force. Tennesee v. Garner, 105 S.Ct. 1694, 471 U.S. 1, 11-12 (1985); Bryan v.
    3   MacPherson, 630 F.3d 805, 831 (9th Cir. 2010); Forrett v. Richardson, 112 F.3d
    4   416 420 (9th Cir 1997).
    5          Assuming plaintiff’s contentions as true, Brown had no basis to use any
    6   force of plaintiff. Plaintiff committed no crime, posed no threat to Brown, and did
    7   not resist – he complied with every order.
    8          This issues presented by Brown allegedly providing rescue or emergency
    9   care are addressed later.
   10
   11          (B)    Because Cases of Excessive Force by their Nature Involve
   12                 Disputed Facts, Summary Judgment is “Sparingly” Granted on
   13                 the issue
   14
   15          Because the reasonableness standard “nearly always requires a jury to sift
   16   through disputed factual contentions, and to draw inferences therefrom, we have
   17   held on many occasions that summary judgment or judgment as a matter of law in
   18   excessive force cases should be granted sparingly.” Santos v. Gates, 287 F.3d 846,
   19   853 (9th Cir. 2002) (citing Liston v. County of Riverside, 120 F.3d 965, 976 n.10
   20   (9th cir. 1997))
   21          Liston v. County of Riverside, 120 F.3d 965, 976 N.10 (9th cir. 1997 (“We
   22   have held repeatedly that the reasonableness of force used is ordinarily a questions
   23   of fact for the jury.”)
   24          When “[t]he parties dispute virtually all of the essential facts surrounding
   25   the excessive force claim, ... it is impossible to determine, without choosing
   26   between the parties’ sharply different factual accounts, whether the force the
   27
   28                                             -6-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 11 of 15 Page ID #:397



    1   officers used, objectively assessed, was reasonable.” Jackson v. Hoylman, 933
    2   F.2d 401, 403 (6th Cir 1991).
    3
    4         (C)    The Intent of the Officer whether “Evil” or well intentioned is
    5                irrelevant.
    6
    7         We must remember that this is an OBJECTIVE analysis rather than
    8   SUBJECTIVE. The fact that there was no evil intent by Defendant is irrelevant
    9   and not the basis for any defense under the law. Objective reasonableness must be
   10   determined “without regard to [the officer’s] underlying intent or motivation.
   11   Graham, 490 U.S. at 397, 109 S.Ct. 1865. Just as “[a] officer’s evil intentions will
   12   not make a Fourth Amendment violation out of an objectively reasonable use of
   13   force, nor will an officer’s good intentions make an objectively unreasonable use
   14   of force constitutional.” I.d (citing Scott v. United Sates, 436 U.S. 128, 138, 98
   15   S.Ct. 1717, 56 L.Ed2d 168 (1978)).
   16
   17         (D)    Qualified Immunity: Well Intentioned but Unreasonable
   18                Mistakes Are a Basis for Liability
   19
   20         A particular right is “clearly established” if “the contours of [that] right [are]
   21   sufficiently clear that a reasonable official would understand that what he is doing
   22   violates that right.” Anderson v. Creighton, 483 U.S. 635, 640, 107 S.Ct. 3034, 97
   23   L.Ed. 2d 523 (1987). To show that a right in question is clearly established one
   24   need not show the “behavior had been previously declared unconstitutional, only
   25   that the unlawfulness was apparent in light of preexisting law.” Blueofred v.
   26   Prunty, 108 F.3d 251, 254 (9th Cir. 1997)
   27
   28                                            -7-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 12 of 15 Page ID #:398



    1         Adams v. Speers 473 F.3d 989, 994 (9th Cir. 2007) (denying qualified
    2   immunity where suspects non-dangerousness and officer’s failure to warn before
    3   shooting placed the case squarely within the obvious:).
    4         Courts have never required a prior precedent “on all fours prohibiting that
    5   particular manifestation of unconstitutional conduct to find a right “clearly
    6   established.” Deorle v. Rutherford, 272 F.3d 1272, 1286(9th Cir. 2001). Police
    7   officers can still have “fair warning” that their conduct is a violation of established
    8   law “even in novel factual circumstances.” Hope v. Pelzer, 536 U.S. 730, 741, 122
    9   S.Ct. 2508, 153 L.Ed. 2d 666 (200), and even when “a novel method is used to
   10   inflict injury.” Mendoza v. Block, 27 F.3d 1357, 1362 (9th Cir. 1994). Oliver v.
   11   Fiorino, 586 F.3d 898; 907-8, (11th Cir. 2009) (officer who repeatedly tased
   12   comoliant, unarmed man not suspected of any crime, even in absence of case law
   13   factually on point.)
   14         A Seizure is a “governmental termination of freedom of movement through
   15   means intentionally applied” and a “seizure occurs even when an unintended
   16   person or thing is the object of the detention or taking:); Brower v. County of
   17   Inyou, 489 U.S. 593, 596-597, 109 S.Ct. 1378, 103 L.Ed 2d 628 (1989).
   18         Where an officer’s particular use of force is based on a mistake of fact, we
   19   ask whether a reasonable officer would have or should have accurately perceived
   20   that fact. Jensen v. City of Oxnard, 145 F.3d 1078, 1086 (9th Cir. 1998). Willings
   21   v. City of Oakland, 350 F.3d 949 (9th Cir. 2003) (Shooting of police officer based
   22   on mistaken belief that officer was a normal citizen not proper for summary
   23   judgement and not subject to qualified immunity; reasonableness of shooters
   24   actions is an issue of fact). See eg Hill v. California, 401 U.S. 797, 803-804, 91
   25   S.Ct. 1106, 28 L.Ed.2d 484 (1971) (whether wrongful arrest of individual based
   26   on mistaken identity is constitutional violation relies on whether such mistake was
   27
   28                                            -8-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 13 of 15 Page ID #:399



    1   reasonable).
    2         Defendants argue qualified immunity under their own different
    3   interpretation of facts. Defendants argue that Brown, who knew where the
    4   perpetrator was, and knew where the victim was, came to the aid of Mehta and
    5   merely pulled Mehta from the Vehicle.
    6         Defendants specifically argue
    7                  “It is undisputed that Officer Brown’s only contact with Mr. Mehta
    8                  occurred when he physically grabbed Mr. Mehta’s shoulder and/or
    9                  shirt collar, pulled Mr. Mehta out of this vehicle, and dragged Mr.
   10                  Mehta across the street.”
   11                  (Plaintiff’s Points and authorities P14:14-17)
   12         Plaintiff’s allegations are very different. Plaintiff alleges that Brown was
   13   confused as to which vehicle was which and rushed in, pointed a gun at Mehta’s
   14   head, and forcefully extricated Mehta and then threw him to the ground, severely
   15   injuring Mehta. Following this Brown held Mehta at gun point on the ground
   16   before realizing his error.
   17         Under one scenario a police officer is acting as a good Samaritan. In the
   18   other the police officer makes a foolish error and applies significant force to the
   19   wrong person and hold them at gunpoint. As we learned earlier plaintiffs may
   20   properly sue for such mistakes.
   21
   22         (E)      Defendant’s Argument that there is no “Seizure” are Plainly
   23                  Untrue
   24         Robinson v. Solano County, 278 F.3d 1007, 1013-15 (9th Cir 2002) (en
   25   banc) (aiming weapons at a suspect may, in certain circumstances, constitute
   26   excessive force); Baldwin v. Placer County, 418 F.3d 966, 970 (9th Cir. 2005)
   27
   28                                              -9-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 14 of 15 Page ID #:400



    1   (pointing weapons and pushing plaintiff could constitute excessive force);
    2   LaLonde v. County of Riverside, 204 F.3d 947 960 (9th Cir. 2000) (tight
    3   handcuffing can constitute excessive force); Clash v. Beatty, 77 F.3d 1045, 1048
    4   (7th Cir. 1996) (“[P]olice officers do not have the right to shove, push or otherwise
    5   assault innocent citizens without any provocation whatsoever.”).
    6
    7         (F)    Cal Health & Safety Code Section 1799.107
    8         Defendants argue that Cal. Health & Safety Code 1799.107 provides
    9   qualified immunity. First of all, this code section would apply to state claims only.
   10   The section provides that “emergency rescue personnel providing emergency
   11   services” for “any injury cause by an action taken by the emergency rescue
   12   personnel acting within the scope of their employment ... unless the action taken
   13   was performed in bad faith or in a grossly negligent manner.” Id.
   14         Even if this section were somehow relevant to the Federal Claims, it is of no
   15   matter. Defendants’ argument PRESUMES that Brown was acting to protect the
   16   health of a bystander and completely ignores Plaintiff’s version of events. The
   17   facts clearly support the contention that Brown was not taking action as someone
   18   “providing emergency services,” but instead Carelessly had a mixup as that Mehta
   19   was Bell, and placed a Mehta, an innocent victim, at gunpoint, and used
   20   substantial force against Mehta .
   21         (G) State Claims
   22         Defendants raise no additional or separate defenses on the State Claims
   23   above and beyond the Fourth Amendment Arguments. As Defendants Arguments
   24   on the Fourth Amendment fail, so do they also on the state claims.
   25         (H)    Loss of Consortium
   26         It is correct that Kaushika Mehta’s Loss of Consortium claim rises and falls
   27
   28                                           -10-
Case 5:15-cv-01164-VAP-DTB Document 52 Filed 07/29/16 Page 15 of 15 Page ID #:401



    1   with those of her husband. However, for the above-argued reasons. Plaintiff’s
    2   Claims still stand.
    3                                               IV.
    4                                         CONCLUSION
    5             There is no question that there are two entirely separate events that are
    6   described by the two parties. Defendant claims that he saw Harshad Mehta in
    7   danger, put himself in jeopardy, and immediately pulled Harshad Mehta to a place
    8   of safety. Plaintiff claims that Defendant Brown was confused about the identity
    9   of the suspect and aimed a gun at him. Plaintiff then claims after he complied with
   10   an order to remove his seatbelt was immediately and violently thrown to the
   11   ground causing severe injury. Brown again aimed his gun at Mehta for a short
   12   while until Brown realized his error. Only at that point did Brown begin to engage
   13   in any sort of “aid” or “rescue.” Brown then pulled Harshad Mehta across the
   14   street.
   15             There is no question that a jury can find plaintiff’s version of events true,
   16   and under such a finding, there is no question that Brown is legally responsible for
   17   the injuries proximately caused by him.
   18             It may be distasteful to the court that liability can be found without any sort
   19   of evil intent on behalf of Defendant Brown. Nonetheless no such evil intent is
   20   required under the law and plaintiff is entitled to a remedy.
   21
   22   Dated: July 29, 2016                LAW FIRM OF JONAS & DRISCOLL, LLP
   23
   24                                       By: /x/ Christopher Driscoll
   25                                                   Christopher Driscoll
   26                                                   Attorneys for Plaintiffs
   27
   28                                               -11-
